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                                    UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF NEW YORK
   DEBORAH LAUFER,

                          Plaintiff,                      STIPULATION OF VOLUNTARY
                                                          DISCONTINUANCE
                        vs.
                                                           Case No. 3:20-CV-0323 (BKS/ML)
   HOMIK INNS CORP.,

                           Defendant.



        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned, the
 attorneys of record for all the parties to the above entitled action, to wit, no party hereto is an
 infant or incompetent person for whom a conservator has been appointed, that this matter is
 hereby voluntary discontinued with prejudice and without costs to either party.


 Dated: September 17, 2020


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 SO ORDERED: ------------
                     United States District Court Judge
